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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  EDWARD LEWIS TOBINICK M.D., et al.,                  Case No: 9:14-cv-80781-RLR

                 Plaintiffs,

  v.

  STEVEN NOVELLA, M.D., et al.,

                 Defendants.


                  FINAL JUDGMENT OF ATTORNEYS’ FEES AND COSTS

         This matter, having come before the Court upon Defendant Steven Novella, M.D.’s

  Omnibus Motion for Attorneys’ Fees and Costs, and pursuant to the Court’s Opinion and Order

  (DE 333), entered on September 8, 2016, granting such motion in part, judgment is entered in

  favor of Defendant Steven Novella, M.D., and against Plaintiffs as follows:

         IT IS ORDERED AND ADJUDGED that Plaintiff Edward Lewis Tobinick, M.D., a

  California medical corporation d/b/a The Institute of Neurological Recovery (the “California

  Plaintiff”), the address of which is 11600 Wilshire Blvd, Suite 322, Los Angeles, CA 90095,

  shall pay $36,186.00 as reasonable attorneys’ fees and costs to Defendant Steven Novella, M.D.,

  as a sanction pursuant to California’s Anti-SLAPP statute, Cal. Code Civ. Proc. § 425.16, for

  which let execution issue;

         IT IS FURTHER ORDERED AND ADJUDGED that Plaintiffs Edward Lewis

  Tobinick, M.D. (“Tobinick”), INR PLLC d/b/a Institute of Neurological Recovery, a Florida

  professional limited liability company (the “Florida Plaintiff”), the address of both being 2300

  Glades Road, Suite 305E, Boca Raton, FL 33431, and the California Plaintiff shall, in joint and

  several liability, pay $223,598.75 as attorneys’ fees as a sanction under 15 U.S.C. § 1117(a) to

  Defendant Steven Novella, M.D., for which let execution issue; and



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           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that all amounts

  ordered shall be due and payable within 30 days of the Court entering this Final Judgment.

  Post-judgment interest shall accrue pursuant to 28 U.S.C. § 1961, for which let execution issue.

           Without affecting the finality of this judgment in any respect, this Court reserves

  jurisdiction over any matters related to or ancillary to this Final Judgment of Attorneys' Fees and

  Costs.

           DONE AND ORDERED in Chambers, Fort Pierce, Florida, this 20th day of September,

  2016.



                                               ROBIN L. ROSENBERG
                                               UNITED STATES DISTRICT JUDGE
  Copies furnished to:
  Counsel of Record




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